Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 1 of 91




                    EXHIBIT B.1
Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 2 of 91

                               Exhibit B.1


 In re Citibank August 11, 2020 Wire Transfers, Case No. 20-cv-06539-JMF
                    Citibank’s Deposition Designations

                           Code to Objections

              Code        Objection
              A           Argumentative
              AC          Attorney commentary/exchange
              AF          Assumes facts not in evidence
              CD          Compound
              F           Lacks foundation
              ID          Improper use of inadmissible
                          document
              IH          Incomplete Hypothetical
              LC          Legal Conclusion
              MT          Misstates prior testimony
                          (mischaracterization)
              S           Scope
              V           Vague
              FRE 401     Relevance
              FRE 403     Unduly prejudicial, confusing,
                          misleading, delay, waste of time,
                          or cumulative
              FRE 501     Privileged
              FRE 602     Lack of personal knowledge; calls
                          for speculation
              FRE 611     Leading
              FRE 701     Improper opinion by lay witness
              FRE 802     Hearsay
              30(b)(6)    Outside of the scope of the FRCP
                          30(b)(6) deposition topics for
                          which witness was designated
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 3 of 91
Exhibit B.1: Citibank’s Deposition Designations


          Deposition of Catherine McCoy (Allstate 30(b)6)), dated October 15, 2020

       Citibank's                Defendants'             Defendants'        Citibank's
      Designations               Objections to            Counter-         Objections to
                                  Citibank's             Designations      Defendants'
                                 Designations                               Counter-
                                                                           Designations
 12:7-9
 23:6-7
 25:19-25
 26:2-6                                               26:7-9
 26:21-25                                             27:4-28:22
 27:2-3                                               27:4-28:22
 28:24-25
 29:2-8                                               32:21-33:14
 29:13-14                                             32:21-33:14
 29:18-19                                             32:21-33:14
 29:21-25                                             32:21-33:14
 30:2-10
 33:22-25
 34:2-5
 34:9-13
 34:15-17                                             34:21
 34:23-24                                             34:21
 35:4-6
 35:8-14                                              35:15-24; 36:12-18
 41:14-22
 42:2-4
 42:6-16
 42:18
 42:20
 42:24
 43:3-5
 43:8
 43:10-12
 43:17
 46:2
 46:4-10
 46:14
 47:10-12
 47:16-17
 47:19-21                    FRE 602
 47:24                       FRE 602



                                                  2
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 4 of 91
Exhibit B.1: Citibank’s Deposition Designations


 48:3-7
 51:10-12
 51:18-19
 51:21
 51:24-25
 52:2
 52:4
 52:7-8
 52:10
 52:12-16
 52:18
 52:20-24
 53:2
 53:4-7
 53:10-11
 53:13-14
 53:18
 54:19-25
 55:2-8                                               54:8-17
 55:17-19
 55:23-25
 56:25
 57:2-4
 57:6
 57:8-16
 57:20-23
 57:25
 58:2-3                                               224:6-226:10
 58:5-8                                               224:6-226:10
 58:10                                                224:6-226:10
 58:12-13                                             224:6-226:10
 58:15-16                                             224:6-226:10
 58:18-20                                             224:6-226:10
 58:22                                                224:6-226:10
 58:24-25                                             224:6-226:10
 59:10-11                                             59:15-24
 59:13                                                59:15-24
 60:9-14                                              59:15-24
 62:9-10                                              224:6-226:10
 62:12-13                                             224:6-226:10
 62:15-17                                             224:6-226:10
 62:19                                                224:6-226:10
 62:21-25                                             224:6-226:10


                                                  3
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 5 of 91
Exhibit B.1: Citibank’s Deposition Designations


 63:2-7                                               224:6-226:10
 63:9-18                                              224:6-226:10
 63:20-22                                             224:6-226:10
 63:24-25                                             224:6-226:10
 64:2-14                                              224:6-226:10
 66:8-25                     ID; FRE 802
 67:10-16                    ID; FRE 802
 68:22-25                    ID; FRE 802
 69:2-6                      ID; FRE 802
 69:9-23                     ID; FRE 802
 70:3-4
 70:6-12                                              70:13-16
 73:3-20                                              74:2-21;       214:21-
                                                      215:3
 75:23-25                                             75:19-22
 76:2-4
 76:6-11
 76:17-23                                             76:24-77:7;    224:6-
                                                      226:10
 78:8-13                                              76:24-77:7;    224:6-
                                                      226:10
 78:15                                                76:24-77:7;    224:6-
                                                      226:10
 78:17-20                                             76:24-77:7; 214:21-
                                                      215:3; 224:6-226:10
 89:21-23
 89:25                                          214:21-215:3
 90:2-4                                         214:21-215:3
 90:6-8                                         214:21-215:3
 94:3-25                     ID; FRE 802 (94:3- 93:13-24;    100:10-
                             21)                101:6
 95:2-24                                        96:16-97:6; 100:10-
                                                101:6
 99:16-21
 99:23
 99:25
 100:2-9
 101:7-25                                             100:10-101:6; 102:2-
                                                      14;    103:10-105:5;
                                                      105:22-106:23;
                                                      107:8-108:13; 110:7-
                                                      111:13; 116:4-13




                                                  4
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 6 of 91
Exhibit B.1: Citibank’s Deposition Designations


 102:24-25                                            100:10-101:6; 102:2-
                                                      14;    103:10-105:5;
                                                      105:22-106:23;
                                                      107:8-108:13; 110:7-
                                                      111:13; 116:4-13
 103:2-3                                              102:16-22; 214:21-
                                                      215:3
 103:5-8                                              102:16-22; 214:21-
                                                      215:3
 121:20-25                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 122:4-6                                              122:8-17; 124:4-14;
                                                      127:23-129:6
 122:18-21                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 122:24-25                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 123:2                                                122:8-17; 124:4-14;
                                                      127:23-129:6
 123:4-6                                              122:8-17; 124:4-14;
                                                      127:23-129:6
 123:9-11                                             122:8-17; 124:4-14;
                                                      127:23-129:6
 123:13-20                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 123:23-25                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 124:2                                                122:8-17; 124:4-14;
                                                      127:23-129:6
 124:16-20                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 124:23-25                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 125:2                                                122:8-17; 124:4-14;
                                                      127:23-129:6
 125:4-19                                             122:8-17; 124:4-14;
                                                      127:23-129:6
 125:22-23                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 125:25                                               122:8-17; 124:4-14;
                                                      127:23-129:6
 126:2-3                                              122:8-17; 124:4-14;
                                                      127:23-129:6
 126:6-10                                             122:8-17; 124:4-14;
                                                      127:23-129:6



                                                  5
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 7 of 91
Exhibit B.1: Citibank’s Deposition Designations


 126:12-13                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 126:17-23                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 127:2-4                                              122:8-17; 124:4-14;
                                                      127:23-129:6
 127:6                                                122:8-17; 124:4-14;
                                                      127:23-129:6
 127:9-10                                             122:8-17; 124:4-14;
                                                      127:23-129:6
 127:12-22                                            122:8-17; 124:4-14;
                                                      127:23-129:6
 133:8-10                                             130:7-132:16
 133:13                                               130:7-132:16
 133:15                                               130:7-132:16
 133:17-19                                            130:7-132:16
 133:21-22                                            130:7-132:16
 133:24-25                                            130:7-132:16
 134:2-3                                              130:7-132:16
 134:14-17                                            130:7-132:16
 134:20-25                                            130:7-132:16
 135:5-15                                             130:7-132:16
 135:19-21                                            130:7-132:16
 135:23-24                                            130:7-132:16
 136:2                                                130:7-132:16
 136:10-19
 139:4-6                                              140:2-5
 140:10-12                                            140:2-5
 140:15-25
 141:2-25
 142:2
 142:5
 142:7-21
 143:6-9                                              142:22-143:5
 143:11-12                                            142:22-143:5
 143:14-25                                            148:4-20; 149:13-23;
                                                      156:3-22
 144:2-24                                             148:4-20; 149:13-23;
                                                      156:3-22
 145:14-21                                            148:4-20; 149:13-23;
                                                      156:3-23
 145:23-25                                            148:4-20; 149:13-23;
                                                      156:3-24



                                                  6
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 8 of 91
Exhibit B.1: Citibank’s Deposition Designations


 146:2-24                                             148:4-20;   149:13-23;
                                                      156:3-25
 147:2-8                     A, MT (147:7-8)          148:4-20;   149:13-23;
                                                      156:3-26
 147:12-13                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-27
 147:15-16                                            148:4-20;   149:13-23;
                                                      156:3-28
 147:18-21                                            148:4-20;   149:13-23;
                                                      156:3-29
 147:23                                               148:4-20;   149:13-23;
                                                      156:3-30
 148:21-25                                            148:4-20;   149:13-23;
                                                      156:3-31
 149:2-5                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-32
 149:7-8                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-33
 149:10-12                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-34
 149:24-25                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-35
 150:2                       A, MT                    148:4-20;   149:13-23;
                                                      156:3-36
 150:4                       A, MT                    148:4-20;   149:13-23;
                                                      156:3-37
 150:6-8                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-38
 150:11-13                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-39
 150:15-25                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-40
 151:2-8                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-41
 151:10-19                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-42
 151:21-23                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-43
 151:25                      A, MT                    148:4-20;   149:13-23;
                                                      156:3-44
 152:2-4                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-45
 152:7-8                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-46
 152:10-20                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-47


                                                  7
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 9 of 91
Exhibit B.1: Citibank’s Deposition Designations


 152:24-25                   A, MT                    148:4-20;   149:13-23;
                                                      156:3-48
 153:2-7                     A, MT                    148:4-20;   149:13-23;
                                                      156:3-49
 153:10-19                                            148:4-20;   149:13-23;
                                                      156:3-49
 153:22-24                                            148:4-20;   149:13-23;
                                                      156:3-49
 154:3                                                148:4-20;   149:13-23;
                                                      156:3-49
 154:7-8                                              148:4-20;   149:13-23;
                                                      156:3-49
 156:23-25                   MT, V                    148:4-20;   149:13-23;
                                                      156:3-49
 157:2-3                                              148:4-20;   149:13-23;
                                                      156:3-49
 157:5-6                                              148:4-20;   149:13-23;
                                                      156:3-49
 157:8-25                                             148:4-20;   149:13-23;
                                                      156:3-49
 158:2-3                                              148:4-20;   149:13-23;
                                                      156:3-49
 158:14-16                                            148:4-20;   149:13-23;
                                                      156:3-49
 158:19-21
 159:5-6
 159:8-12
 159:14-17
 160:15-18
 160:20-21
 160:23                      FRE 602
 160:25                      FRE 602
 161:2
 162:20-25
 163:2-4                     FRE 401
 163:8-13                    FRE 401
 168:10-15
 168:17-20
 171:3-18                    MT (171:17-18)           171:19-20
 171:22-25                                            174:6-175:12
 172:2-6                                              174:6-175:12
 172:8-9                                              174:6-175:12
 172:11-14                                            174:6-175:12
 172:16-17                                            174:6-175:12


                                                  8
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 10 of 91
Exhibit B.1: Citibank’s Deposition Designations


 172:19-24                                            174:6-175:12
 173:2                                                174:6-175:12
 173:4-12                    MT (173:8-12)            174:6-175:12
 173:14-17                                            174:6-175:12
 173:19-24                                            174:6-175:12
 174:2-4                                              174:6-175:12
 175:20-25                   MT (175:20-23)           174:6-175:12; 178:9-
                                                      179:18; 195:11-16;
                                                      196:18-197:11
 176:2-5                                              178:9-179:18;
                                                      195:11-16;    96:18-
                                                      197:11
 179:20-25                                            178:9-179:18
 180:2-10                                             178:9-179:18
 180:12                                               178:9-179:18
 185:6-7
 185:11-16
 185:19
 188:5-11                    V, MT (188:9-11)         189:11-14
 188:14-15                   V, MT                    189:11-14
 188:17-19                   IH, V, MT                189:11-14
 188:22                      V, MT                    189:11-14
 200:22-25
 201:2-3
 201:7-8
 202:21-25                   FRE 501                  201:22-202:19;
                                                      203:6-204:25
 203:4                       FRE 501                  201:22-202:19;
                                                      203:6-204:25
 210:13-15
 210:18-21
 210:24-25
 211:3-4
 211:8-10
 211:12
 211:15-16
 211:18-19
 211:22-23
 216:19-25
 217:2-8
 217:12-13
 217:17-19                                            217:24-218:7
 217:22                                               217:24-218:7



                                                  9
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 11 of 91
Exhibit B.1: Citibank’s Deposition Designations


 218:23-25
 219:2-3
 219:8-11
 220:9-12
 220:15-16
 220:18-21
 220:24
 221:19-21
 221:24-25
 222:3-9
 222:12
 229:2-4                                           229:12-20
 229:7-8                                           229:12-20
 229:10                                            229:12-20
 231:25
 232:2-5
 232:14-18
 232:22-25
 233:2-3
 237:2-7
 237:13-25
 238:2-5                                           252:3-11
 238:12-13                                         252:3-11
 238:15-18                                         252:3-11
 240:25
 241:2-9
 241:20-25
 242:3-8
 243:13-20
 244:19-25
 245:2-12
 245:14-25
 246:2-5
 246:18-23
 247:2-4
 247:6-10
 247:14-19
 247:21-25
 248:2-6
 249:5-14
 249:18-20
 250:5-12
 250:15


                                                  10
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 12 of 91
Exhibit B.1: Citibank’s Deposition Designations


 250:17-25
 251:2
 251:6
 252:3-11
 252:23-25
 253:2-3
 254:6-8                     LC
 254:13-18                   LC
 254:20                      LC
 254:22-24                   LC
 255:3-4                     LC
 255:6-9                     LC
 255:25                      LC                    259:10-20;   261:4-
                                                   264:6
 256:2-3                     LC                    259:10-20;   261:4-
                                                   264:6
 256:6-9                     LC                    259:10-20;   261:4-
                                                   264:6
 256:11                      LC                    259:10-20;   261:4-
                                                   264:6
 256:14-16                   LC                    259:10-20;   261:4-
                                                   264:6
 259:7-9                                           259:10-20;   261:4-
                                                   264:6
 260:4-11
 260:18-23
 260:25
 261:2
 263:16-20
 263:22
 263:24-25
 264:2-5
 267:6-17                                          259:10-20;   261:4-
                                                   264:6
 267:19-23                                         259:10-20;   261:4-
                                                   264:6
 268:3-17                                          259:10-20;   261:4-
                                                   264:6
 271:11-13                   LC                    272:5-9
 271:17-19                   LC                    272:5-9
 271:21                      LC                    272:5-9
 272:19-25                   LC                    272:5-9
 273:4-5                     LC                    272:5-9
 273:7-9                     LC                    272:5-9


                                                  11
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 13 of 91
Exhibit B.1: Citibank’s Deposition Designations


 273:12-13                   LC                    272:5-9
 273:15-16                   LC                    272:5-9
 273:19-24                   LC                    272:5-9
 274:3-4                     LC                    272:5-9
 274:6-7                     LC                    272:5-9
 274:10-12                   LC                    272:5-9
 276:10-11                   LC                    272:5-9
 276:14                      LC                    272:5-9
 277:2-4                                           272:5-9
 277:7                                             272:5-9
 277:15-24                                         272:5-9
 278:3-7                                           272:5-9
 278:9-10                                          272:5-9
 278:13-17                                         272:5-9
 278:19-25                                         272:5-9
 279:3-6                                           272:5-9
 285:5-9                     LC                    285:19-286:4
 285:12-17                   LC                    285:19-286:4
 286:21-25
 287:4
 288:12-14                   LC                    285:19-286:4
 288:17                      LC                    285:19-286:4
 288:19-23                   LC                    285:19-286:4
 289:2                       LC                    285:19-286:4
 289:19-21
 289:24-25
 290:3-5                     AC; A
 290:9-10
 290:12-14
 290:19-23
 291:2-3                     AC; A
 291:5-8                     AC; A
 291:11                      AC; A




                                                  12
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 14 of 91
Exhibit B.1: Citibank’s Deposition Designations


           Deposition of John Greene (Bardin Hill 30(b)(6)), dated October 23, 2020

       Citibank's                 Defendants'          Defendants'          Citibank's
      Designations                Objections to         Counter-           Objections to
                                   Citibank's          Designations        Defendants'
                                  Designations                              Counter-
                                                                           Designations
 8:15-19
 8:25
 9:2-22                      FRE 401
 10:4-14                     FRE 401
 11:5-21                     FRE 401
 12:20-25
 13:2-23
 15:20-25                    FRE 401
 16:2-25                     FRE 401
 17:2-12                     FRE 401
 20:5-15
 24:13-25
 25:2-6
 27:7-9
 27:14-15
 33:22-25                    LC                    34:17-35:4; 36:6-18
 34:3-15                     LC                    34:17-35:4; 36:6-18
 35:6-9                      LC                    34:17-35:4; 36:6-18
 35:14-20                    LC                    34:17-35:4; 36:6-18
 62:9-22
 63:13-17
 67:24-25
 68:2-4
 68:7-9
 68:11-24
 69:2-8
 70:14-18                    FRE 802
 74:12-25
 77:9-20
 78:4-25
 79:2-15
 80:22-25
 81:2-16                                           81:17-82:23;   85:20-
                                                   22
 84:16-19                                          81:17-82:23;   85:20-
                                                   22



                                                  13
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 15 of 91
Exhibit B.1: Citibank’s Deposition Designations


 84:22-25                                          81:17-82:23;     85:20-
                                                   22
 85:2-9                                            81:17-82:23;     85:20-
                                                   22
 85:14-19                                          81:17-82:23;     85:20-
                                                   22
 92:17-20                                          92:21-93:2
 96:11-22                    FRE 802
 102:11-25
 103:2-7
 106:18-25                                         107:19-108:11;
                                                   110:22-11:7
 107:2-4                                           107:19-108:11;
                                                   110:22-11:7
 107:12-18                                         107:19-108:11;
                                                   110:22-11:7
 108:22-25                                         107:19-108:11;
                                                   110:22-11:7
 109:2-9                                           107:19-108:11;
                                                   110:22-11:7
 112:8-12                                          107:19-108:11;
                                                   110:22-11:7
 129:18-22
 129:24-25
 130:2-19                                          130:21-24
 130:25                                            130:21-24
 131:2-6
 133:23-25
 134:2-6                                           136:13-137:11
 134:15-25                                         136:13-137:11
 135:2-12                                          136:13-137:11
 137:12-14                                         136:13-137:11
 139:22-25                                         137:15-21; 138:19-
                                                   139:8
 140:2-7                                           137:15-21; 138:19-
                                                   139:8
 140:9-15                                          137:15-21; 138:19-
                                                   139:8
 142:12-21                   AC; A                 137:15-21; 138:19-
                                                   139:8
 142:23-24                   AC; A                 137:15-21; 138:19-
                                                   139:8
 152:20-25
 153:2



                                                  14
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 16 of 91
Exhibit B.1: Citibank’s Deposition Designations


 153:11-25                                         155:16-156:11
 154:2-7                                           155:16-156:11




                                                  15
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 17 of 91
Exhibit B.1: Citibank’s Deposition Designations


          Deposition of Jeffrey Frusciante (Brigade 30(b)(6)), dated October 22, 2020

       Citibank's                Defendants'           Defendants'          Citibank's
      Designations               Objections to          Counter-           Objections to
                                  Citibank's           Designations        Defendants'
                                 Designations                               Counter-
                                                                           Designations
 9:11-13
 9:20-21
 26:3-25
 27:2-9
 31:17-25
 32:2-20
 33:3-25
 34:2-8
 36:15-25
 37:2-11
 37:13-25
 38:2-14
 40:12-14
 40:20-25
 41:2-12                                           41:15-16
 41:18-25                                          41:15-16
 42:2-6
 49:15-21
 53:13-17                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 53:20-22                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 54:18-21                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 54:24-25                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25


                                                  16
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 18 of 91
Exhibit B.1: Citibank’s Deposition Designations


 56:6-8                                            50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 56:11-25                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 57:2-10                                           50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 58:5-9                                            50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 58:12                                             50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 58:14-15                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 62:13-17                    MT                    50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 62:20-21                    MT                    50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 63:20-25                    AC; A                 50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25



                                                  17
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 19 of 91
Exhibit B.1: Citibank’s Deposition Designations


 64:2-3                                            50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 64:5-21                                           50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 65:13-17                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 65:19-25                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 66:2                                              50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 67:13-17                    MT                    50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 67:19-25                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 68:2-21                                           50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 68:23-25                                          50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25



                                                  18
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 20 of 91
Exhibit B.1: Citibank’s Deposition Designations


 69:2-5                                            50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 70:2-6                                            50:17-22; 52:20-53:2;
                                                   53:23-54:17; 57:11-
                                                   58:4;    58:21-59:18;
                                                   64:22-65:5;     66:3-
                                                   67:12; 69:6-25
 72:2-12                                           72:13-17
 79:10-25                                          81:17-25; 82:7-24
 80:2                                              81:17-25; 82:7-24
 80:12-25                                          81:17-25;    82:7-24;
                                                   118:14-25;     121:9-
                                                   124:23
 81:2-6                                            81:17-25;    82:7-24;
                                                   118:14-25;     121:9-
                                                   124:23
 81:11-16                                          81:17-25;    82:7-24;
                                                   118:14-25;     121:9-
                                                   124:23
 82:25                                             83:24-84:12;    93:5-
                                                   95:13
 83:2-9                                            83:24-84:12;    93:5-
                                                   95:13
 84:13-19
 87:9-13
 102:8-12                                          93:5-95:13
 103:17-24
 104:23-25                                         93:5-95:13
 105:2-23                                          93:5-95:13
 106:14-24                                         108:18-24
 107:13-25                                         108:18-24
 108:2-6                                           108:18-24
 108:8-11                                          108:18-24
 112:8-19                                          112:19-113:17
 116:20-23                                         114:4-116:19
 116:25                                            114:4-116:19
 117:2                                             114:4-116:19
 117:20-25                                         117:3-19
 118:7-13                                          114:4-116:19; 117:3-
                                                   19
 128:21-25



                                                  19
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 21 of 91
Exhibit B.1: Citibank’s Deposition Designations


 129:2-4
 132:5-25
 133:2-5
 133:10-23                                         134:4-8; 136:16-21
 137:23-25
 138:2-10
 139:7-25
 140:2-25
 141:2
 141:23-25                   MT
 142:2-3                     MT
 142:5-8
 142:12-20
 143:3-13
 143:20-25
 144:2-25
 145:2-15
 145:17-20
 146:10-24
 147:2-4                                           147:6-148:8; 160:2-
                                                   161:10
 148:9-25                                          147:6-148:8; 160:2-
                                                   161:10;       253:24-
                                                   255:18
 149:2-3                                           147:6-148:8; 160:2-
                                                   161:10
 156:12-20                                         160:2-161:10; 162:3-
                                                   18; 165:20-166:14;
                                                   169:17-170:9; 185:3-
                                                   13;     186:17-189:2;
                                                   190:9-191:12
 162:19-25                                         160:2-161:10; 162:3-
                                                   18; 165:20-166:14;
                                                   169:17-170:9; 185:3-
                                                   13;     186:17-189:2;
                                                   190:9-191:12
 163:2-4                                           160:2-161:10; 162:3-
                                                   18; 165:20-166:14;
                                                   169:17-170:9; 185:3-
                                                   13;     186:17-189:2;
                                                   190:9-191:12
 163:16-18




                                                  20
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 22 of 91
Exhibit B.1: Citibank’s Deposition Designations


 164:3-14                                          160:2-161:10; 162:3-
                                                   18; 165:20-166:14;
                                                   169:17-170:9; 185:3-
                                                   13;    186:17-189:2;
                                                   190:9-191:12
 194:14-21                                         196:25-197:13;
                                                   198:7-16
 195:20-22                                         196:25-197:13;
                                                   198:7-16
 195:25                                            196:25-197:13;
                                                   198:7-16
 196:2-4                                           196:25-197:13;
                                                   198:7-16
 196:7-11                                          196:25-197:13;
                                                   198:7-16
 196:14-18                                         196:25-197:13;
                                                   198:7-16
 196:21-24                                         196:25-197:13;
                                                   198:7-16
 198:17-20                                         196:25-197:13;
                                                   198:7-16
 198:22                                            196:25-197:13;
                                                   198:7-16
 199:4-10                                          199:11-200:8;
                                                   200:12-17; 200:23-
                                                   201:8
 200:9-11                                          199:11-200:8;
                                                   200:12-17; 200:23-
                                                   201:8
 200:18-22                                         199:11-200:8;
                                                   200:12-17; 200:23-
                                                   201:8
 202:6-10                                          199:11-200:8;
                                                   200:12-17; 200:23-
                                                   201:8
 205:13-25
 206:2-15
 207:10-15
 208:24-25
 209:2-18
 209:20-25
 210:2-15                                          210:16-24; 214:9-20
 210:25                                            210:16-24; 214:9-20
 211:2-11
 215:23-25


                                                  21
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 23 of 91
Exhibit B.1: Citibank’s Deposition Designations


 216:2-5
 216:19-25
 217:2-18
 218:23-25
 219:2-25                                          210:16-24;   214:9-20;
                                                   220:11-22
 220:2-7                                           210:16-24;   214:9-20;
                                                   220:11-22
 220:23-25                                         210:16-24;   214:9-20;
                                                   220:11-22
 221:2-25                                          210:16-24;   214:9-20;
                                                   220:11-22
 222:2-14
 223:21-25                   MT
 224:2-19                    MT                    226:4-24
 227:15-25                   MT
 228:2-9                     MT
 228:19-25                   MT                    226:4-24
 229:2-15                    MT                    226:4-24
 230:20-25
 231:2-7
 231:13-25
 232:2-7
 232:9-18
 233:13-23                                         236:13-237:21;
                                                   253:24-255:18
 234:8-14                                          236:13-237:21;
                                                   253:24-255:18
 235:14-20                                         236:13-237:21;
 237:22-24                                         236:13-237:21;
 238:4-11
 238:14
 238:21-25
 239:2-10
 240:5-25                                          236:13-237:21;
                                                   241:2-8
 242:2                       IH
 243:9-13                    A, AC                 236:13-237:21;
                                                   241:2-8;     242:11-
                                                   243:9
 243:15-25                                         236:13-237:21;
                                                   241:2-8;     242:11-
                                                   243:9



                                                  22
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 24 of 91
Exhibit B.1: Citibank’s Deposition Designations


 244:2                                             236:13-237:21;
                                                   241:2-8;      242:11-
                                                   243:9
 244:5-13                    A, AC                 236:13-237:21;
                                                   241:2-8;      242:11-
                                                   243:9
 245:13-22                                         236:13-237:21;
                                                   241:2-8;      242:11-
                                                   243:9
 250:18-21                                         247:7-250:17;
                                                   251:18-252:17
 250:24-25                                         247:7-250:17;
                                                   251:18-252:17
 251:2-3                                           247:7-250:17;
                                                   251:18-252:17
 251:5-17
 255:19-25                   A, AC                 253:24-255:18
 256:2-7                     A, AC                 253:24-255:18
 256:16-25                   A, AC                 253:24-255:18
 257:2                       A, AC                 253:24-255:18
 257:6-7                     A, AC                 253:24-255:18
 257:14-25                   A, AC
 258:2
 258:8-19                    A, AC
 279:20-25                                         282:4-12;    283:19-
                                                   284:3
 280:2                                             282:4-12;    283:19-
                                                   284:3
 286:4-8                                           282:4-12;    283:19-
                                                   284:3
 295:14-16
 295:18-22
 295:25
 296:3-9
 296:12-14
 296:16-20
 296:22




                                                  23
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 25 of 91
Exhibit B.1: Citibank’s Deposition Designations


           Deposition of Matthew Perkal (Brigade 30(b)(6)), dated October 22, 2020

 Citibank's                  Defendants'           Defendants'             Citibank's
 Designations                Objections to         Counter-                Objections to
                             Citibank's            Designations            Defendants'
                             Designations                                  Counter-
                                                                           Designations

 9:3-5

 14:10-25

 15:2-12

 15:24-25

 16:2

 18:18-21

 19:17-23                                          19:24-20:4

 20:5-15

 20:19-25

 21:2-9

 21:15-16                                          21:17-22:7; 23:15-22;
                                                   26:3-8

 22:8-21                                           21:17-22:7; 22:22-23;
                                                   23:15-22; 26:3-8

 22:24-25                                          21:17-22:7; 22:22-23;
                                                   23:15-22; 26:3-8

 23:2-7                                            21:17-22:7; 22:22-23;
                                                   23:15-22; 26:3-8

 23:23-25                                          21:17-22:7; 23:15-22;
                                                   26:3-8

 24:2-9                                            21:17-22:7; 23:15-22;
                                                   26:3-8




                                                  24
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 26 of 91
Exhibit B.1: Citibank’s Deposition Designations


 24:14-20                                          21:17-22:7; 23:15-22;
                                                   26:3-8

 30:9-25

 31:2-22                     MT (31:15-22)

 31:24-25

 32:2-21                     FRE 401 (32:18-21)    32:23-33:2; 33:9-14

 33:3-8                      FRE 401               32:23-33:2; 33:9-14

 37:13-25                    FRE 401 (37:13-23)    32:23-33:2; 33:9-14

 38:2-25

 39:11-21

 44:20-25                                              45:2

 45:3-10                     FRE 802               47:3-8; 48:5-17;
                                                   49:4-7; 49:9-25;
                                                   50:2-3; 52:2-8; 53:4-
                                                   14; 55:20-56:3

 45:12                       FRE 802               47:3-8; 48:5-17;
                                                   49:4-7; 49:9-25;
                                                   50:2-3; 52:2-8; 53:4-
                                                   14; 55:20-56:3

 45:22-25                    FRE 802               47:3-8; 48:5-17;
                                                   49:4-7; 49:9-25;
                                                   50:2-3; 52:2-8; 53:4-
                                                   14; 55:20-56:3

 46:2                        FRE 802               47:3-8; 48:5-17;
                                                   49:4-7; 49:9-25;
                                                   50:2-3; 52:2-8; 53:4-
                                                   14; 55:20-56:3

 62:21-25                    FRE 401                   63:5;64:12-19

 63:2-4                      FRE 401                   63:5;64:12-19

 64:24-25                    V                     65:6




                                                  25
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 27 of 91
Exhibit B.1: Citibank’s Deposition Designations


 65:2-5                      V                     65:6

 65:7-15                     V

 66:7-25

 67:2-18                     F (67:17-18)          67:19-20

 67:21-25                    F (67:21-23)          67:19-20

 68:2-13                                           68:14-18

 68:19-25                                          68:14-18

 69:2-12                     FRE 602 (69:9-12)

 69:18-25

 70:2-3

 74:20-25                    V                     35:21-36:5; 36:15-
                                                   37:2; 75:3-14

 75:2                        V                     35:21-36:5; 36:15-
                                                   37:2; 75:3-14

 75:15-22                    FRE 602               35:21-36:5; 36:15-
                                                   37:2; 75:9-14

 78:2-7                                            34:12-21

 79:12-16                                          34:12-21; 79:17-25

 82:15-25

 83:2-12

 87:7-14                     FRE 602               84:23-86:11

 88:16-25

 89:2-19

 101:19-25

 102:2-7                     V(102:3-7)

 102:10-25                   V(102:10-11)          103:13-19



                                                  26
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 28 of 91
Exhibit B.1: Citibank’s Deposition Designations


 103:2-12                                          103:13-19

 103:20-25                                         103:13-19

 104:2-6                                           103:13-19




                                                  27
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 29 of 91
Exhibit B.1: Citibank’s Deposition Designations


           Deposition of Steven Abrams (Greywolf 30(b)(6)), dated October 21, 2020

 Citibank's                  Defendants'           Defendants'             Citibank's
 Designations                Objections to         Counter-                Objections to
                             Citibank's            Designations            Defendants'
                             Designations                                  Counter-
                                                                           Designations

 7:15-17

 17:2-6

 17:23-25

 18:12-18

 22:3-14                                           22:15-18; 23:11-
                                                   25:13

 22:19-25                                          22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:3;   37:9-10 - Incomplete
                                                   37:9-10; 40:10-13       Designation

 23:2-10                     FRE 802               22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 26:9-25                     FRE 602               22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 27:2-16                     FRE 602               22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13




                                                  28
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 30 of 91
Exhibit B.1: Citibank’s Deposition Designations


 28:6-22                                           22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 29:7-25                     FRE 802               22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 30:2-12                                           22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 32:5-14                                           22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 33:7-25                     FRE 602; V            22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 34:2-20                     FRE 602; V            22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 35:5-10                     FRE 602; V            22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602



                                                  29
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 31 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13


 42:16-20                    FRE 602; CD           42:21-43:6

 50:9-21                     FRE 802               48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9

 51:7-22                                           48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9

 52:5-9                      V                     48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9

 53:13-24                    FRE 602; V            48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9

 54:14-25                                          48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9




                                                  30
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 32 of 91
Exhibit B.1: Citibank’s Deposition Designations


 55:2-4                                            48:22-49:18; 50:22-    48:22-49:18 - FRE
                                                   51:6; 52:10-13;        802
                                                   52:18-53:12; 53:25-    70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;   73:17-20 -
                                                   67:22-69:5; 70:5-      Incomplete
                                                   72:12; 73:17-20;       Designation
                                                   75:24-77:9

 66:6-9                      CD; IH; V; FRE 602    48:22-49:18; 50:22-    48:22-49:18 - FRE
                                                   51:6; 52:10-13;        802
                                                   52:18-53:12; 53:25-    70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;   73:17-20 -
                                                   67:22-69:5; 70:5-      Incomplete
                                                   72:12; 73:17-20;       Designation
                                                   75:24-77:9

 66:12-18                    CD; IH; V; FRE 602    48:22-49:18; 50:22-    48:22-49:18 - FRE
                                                   51:6; 52:10-13;        802
                                                   52:18-53:12; 53:25-    70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;   73:17-20 -
                                                   67:22-69:5; 70:5-      Incomplete
                                                   72:12; 73:17-20;       Designation
                                                   75:24-77:9

 69:6-25                     LC                    48:22-49:18; 50:22-    48:22-49:18 - FRE
                                                   51:6; 52:10-13;        802
                                                   52:18-53:12; 53:25-    70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;   73:17-20 -
                                                   67:22-69:5; 70:5-      Incomplete
                                                   72:12; 73:17-20;       Designation
                                                   75:24-77:9

 70:2-4                      LC                    48:22-49:18; 50:22-    48:22-49:18 - FRE
                                                   51:6; 52:10-13;        802
                                                   52:18-53:12; 53:25-    70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;   73:17-20 -
                                                   67:22-69:5; 70:5-      Incomplete
                                                   72:12; 73:17-20;       Designation
                                                   75:24-77:9

 73:23-25                                          48:22-49:18; 50:22-    48:22-49:18 - FRE
                                                   51:6; 52:10-13;        802
                                                   52:18-53:12; 53:25-    70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;   73:17-20 -
                                                   67:22-69:5; 70:5-      Incomplete
                                                                          Designation



                                                  31
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 33 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   72:12; 73:17-20;
                                                   75:24-77:9


 74:2-25                                           48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9

 75:2-12                                           48:22-49:18; 50:22-     48:22-49:18 - FRE
                                                   51:6; 52:10-13;         802
                                                   52:18-53:12; 53:25-     70:5-72:12 - FRE 602
                                                   54:2-13; 62:20-66:5;    73:17-20 -
                                                   67:22-69:5; 70:5-       Incomplete
                                                   72:12; 73:17-20;        Designation
                                                   75:24-77:9

 83:14-21                    V; FRE 602            83:22-84:6

 84:7-18                     V                     83:22-84:6

 86:12-22                                          22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 88:10-20                                          22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 92:17-25                                          22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13




                                                  32
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 34 of 91
Exhibit B.1: Citibank’s Deposition Designations


 93:2-8                      V                     22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 97:10-25                    FRE 602               94:23-97:9              FRE 802

 98:2-12                     FRE 602               94:23-97:9              FRE 802

 106:11-25                   LC; ID; V; FRE 802    102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 107:2-25                    LC; ID; V; FRE 802    102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 108:2-25                    LC; ID; V; FRE 802    102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 109:2-7                     LC; ID; V; FRE 802    102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 109:25                      FRE 602; V; CD        102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 110:2-5                     FRE 602; V; CD        102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18



                                                  33
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 35 of 91
Exhibit B.1: Citibank’s Deposition Designations


 110:19-25                   MT; FRE 602           102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 111:2-8                     MT; FRE 602           102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 112:4-25                    FRE 602; V            102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 113:2-3                     FRE 602; V            102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 113:14-25                                         102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 114:2-5                                           102:10-104:16;          110:5-18 - FRE 602
                                                   109:8-24; 110:5-18;
                                                   111:9-25; 113:4-13;
                                                   114:6-18; 115:4-
                                                   117:18

 117:19-25                                         22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-      27:17-28:5 - A
                                                   33:2; 34:21-35:4;       30:13-33:2 - FRE 602
                                                   35:11-23; 36:14-37:6;
                                                   37:9-18; 40:10-13

 118:2-3                                           22:15-18; 23:11-        23:11-25:13 - FRE
                                                   25:13; 27:17-28:5;      602
                                                   28:23-29:6; 30:13-
                                                   33:2; 34:21-35:4;


                                                  34
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 36 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   35:11-23; 36:14-37:6; 27:17-28:5 - A
                                                   37:9-18; 40:10-13     30:13-33:2 - FRE 602


 119:19-25                   MT; LC                120:10-121:2

 120:2-9                     MT; LC                120:10-121:2




                                                  35
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 37 of 91
Exhibit B.1: Citibank’s Deposition Designations


        Deposition of Michael Josephson (Greywolf 30(b)(6)), dated October 21, 2020

 Citibank's                  Defendants'           Defendants'           Citibank's
 Designations                Objections to         Counter-              Objections to
                             Citibank's            Designations          Defendants'
                             Designations                                Counter-
                                                                         Designations

 10:2-4

 23:18-25                                          22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 24:2-21                                           22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 25:18-23                                          22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 28:16-25                    FRE 602               22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 29:2-8                      FRE 602               22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 36:17-25                    IH; MT; FRE 602;      22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                             CD                    24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 37:2-10                     IH; MT; FRE 602;      22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                             CD                    24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 38:10-25                    FRE 602; V            22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 39:2-10                     MT; V; FRE 602        22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11




                                                  36
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 38 of 91
Exhibit B.1: Citibank’s Deposition Designations


 39:12-25                    MT; V; FRE 602        22:22-23:2; 23:14-17; 22:22-23:2; 23:14-17
                                                   24:22-25:17; 35:4-10; - A
                                                   35:19-36:16; 39:11

 45:6-25                     ID; CD; FRE 602       35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25

 46:2                        ID; CD; FRE 602       35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25

 47:2-22                     V; FRE 602; MT; CD 35:4-10; 35:19-36:16;
                                                40:19-45-5; 46:3-25

 50:21-25                    ID                    35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 51:2-25                     ID                    35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 52:2-25                     ID; FRE 602           35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 53:2-25                     ID; MT; FRE 602       35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 54:2-23                     ID; MT; FRE 602       35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 55:19-25                    FRE 602               35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-




                                                  37
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 39 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8


 56:2-5                      FRE 602               35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 57:10-25                    FRE 602               35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 58:2-6                      FRE 602               35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 58:21-25                                          35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 59:2-13                                           35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 60:3-25                                           35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8

 61:2-8                      FRE 802               35:4-10; 35:19-36:16;
                                                   40:19-45-5; 46:3-25;
                                                   54:24-55:15; 56:6-
                                                   57:9; 58:7-20; 59:14-
                                                   60:2; 61:11-62:8




                                                  38
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 40 of 91
Exhibit B.1: Citibank’s Deposition Designations


 67:3-16                                           61:11-17; 61:23-62:8;
                                                   67:17-20

 70:5-13                     FRE 602               68:13-70:4; 71:17-
                                                   72:14;

 72:15-25                    FRE 802               68:13-70:4; 71:17-
                                                   72:14;

 73:2-14                     FRE 602; FRE 802      68:13-70:4; 71:17-
                                                   72:14;

 77:2-25                     FRE 602               35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 78:2-16                                           35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 83:8-25                                           35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 84:2-15                     FRE 602               35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 84:22-25                    FRE 602               35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4



                                                  39
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 41 of 91
Exhibit B.1: Citibank’s Deposition Designations


 85:2-25                     FRE 802; LC           35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 86:2-17                     FRE 602; LC           35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 87:10-17                    LC                    35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 88:15-24                    LC                    35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 89:3-12                     LC                    35:4-10; 35:19-36:16; 84:16-21 - A
                                                   75:17-76:4; 78:17-
                                                   81:16; 84:16-21;
                                                   86:18-88:12; 89:13-
                                                   19; 91:7-18; 93:10-
                                                   94:4

 103:8-25                    FRE 602; FRE 802      35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 104:2-3                     FRE 602; FRE 802      35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;



                                                  40
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 42 of 91
Exhibit B.1: Citibank’s Deposition Designations


 104:21-25                                         35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 105:2-10                                          35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 105:25                      ID; FRE 602           35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 106:2-17                    ID; FRE 602           35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 108:3-15                    ID; FRE 602           35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 110:17-25                                         35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 111:2-21                    FRE 602               35:4-10; 35:19-36:16;
                                                   102:6-103:7; 105:11-
                                                   24; 106:18-108:2;
                                                   108:16-110:16;
                                                   111:21-114:4;

 114:5-13                                          114:18-20; 117:7-       130:15-24 -
                                                   120:5; 122:5-124:18;    Incomplete
                                                   125:18-126:16;          Designation




                                                  41
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 43 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   127:2-7; 128:3-16;
                                                   130:15-24

 114:21-25                                         114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 115:2-12                                          114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 120:6-10                    FRE 602               114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 125:9-17                    FRE 602               114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 126:17-25                                         114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 127:8-12                                          114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 129:3-25                    FRE 802               114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24




                                                  42
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 44 of 91
Exhibit B.1: Citibank’s Deposition Designations


 130:2-14                    FRE 602               114:18-20; 117:7-      130:15-24 -
                                                   120:5; 122:5-124:18;   Incomplete
                                                   125:18-126:16;         Designation
                                                   127:2-7; 128:3-16;
                                                   130:15-24

 135:6-25                    V; FRE 602            133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 136:2-13                    FRE 602               133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 138:12-16                   FRE 602               133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 138:22-25                                         133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 139:2-19                    FRE 602               133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4




                                                  43
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 45 of 91
Exhibit B.1: Citibank’s Deposition Designations


 140:10-25                   FRE 802               133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 141:2-8                                           133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 143:21-22                                         133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 144:2-17                                          133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 145:4-16                                          133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 146:8-14                                          133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-




                                                  44
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 46 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   145:3; 145:17-146:3;
                                                   146:15-149:4



 149:5-10                                          133:11-21; 134:2-
                                                   135:5; 136:15-
                                                   138:11; 139:20-
                                                   140:9; 141:9-16;
                                                   143:4-20; 144:18-
                                                   145:3; 145:17-146:3;
                                                   146:15-149:4

 153:6-21                    FRE 602               152:2-153:5; 153:22-
                                                   155:18; 156:9-
                                                   157:11; 159:6-160:9;
                                                   160:17-23; 163:2-14;

 157:12-25                   ID; FRE 802; FRE      152:2-153:5; 153:22-
                             602                   155:18; 156:9-
                                                   157:11; 159:6-160:9;
                                                   160:17-23; 163:2-14;

 158:2-25                    ID; FRE 802; FRE      152:2-153:5; 153:22-
                             602                   155:18; 156:9-
                                                   157:11; 159:6-160:9;
                                                   160:17-23; 163:2-14;

 159:2-5                     ID; FRE 802; FRE      152:2-153:5; 153:22-
                             602                   155:18; 156:9-
                                                   157:11; 159:6-160:9;
                                                   160:17-23; 163:2-14;

 162:16-25                   LC                    152:2-153:5; 153:22-
                                                   155:18; 156:9-
                                                   157:11; 159:6-160:9;
                                                   160:17-23; 163:2-14;

 167:23-25                   AF; V                 35:4-10; 35:19-36:16;
                                                   165:10-24; 168:25-
                                                   169:20;

 168:2-14                    AF; V                 35:4-10; 35:19-36:16;
                                                   165:10-24; 168:25-
                                                   169:20;




                                                  45
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 47 of 91
Exhibit B.1: Citibank’s Deposition Designations


 169:21-25                   ID; FRE 602           35:4-10; 35:19-36:16;
                                                   165:10-24; 168:25-
                                                   169:20;

 170:2-3                     ID; FRE 602           35:4-10; 35:19-36:16;
                                                   165:10-24; 168:25-
                                                   169:20; 170:6-10

 170:11-25                   ID; FRE 602           35:4-10; 35:19-36:16;
                                                   165:10-24; 168:25-
                                                   169:20; 170:6-10

 171:2-12                    ID; FRE 602           35:4-10; 35:19-36:16;
                                                   165:10-24; 168:25-
                                                   169:20; 170:6-10




                                                  46
         Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 48 of 91
Exhibit B.1: Citibank’s Deposition Designations


             Deposition of Scott Crocombe (HPS 30(b)(6)), dated October 20, 2020

 Citibank's                  Defendants'           Defendants'           Citibank's
 Designations                Objections to         Counter-              Objections to
                             Citibank's            Designations          Defendants'
                             Designations                                Counter-
                                                                         Designations

 7:14-16

 7:24-25

 8:2-8

 16:9-15

 17:4-11

 23:15-20

 24:10-25                                          25:16-26:9; 28:6-23

 25:2-15                                           25:16-26:9; 28:6-23

 27:20-25                                          25:16-26:9; 28:6-23

 28:2-5                                            25:16-26:9; 28:6-23

 29:4-25                                           25:16-26:9; 28:6-23

 30:2-20                                           25:16-26:9; 28:6-23

 39:21-25

 40:2-25

 41:2-22                     FRE 602 (41:15-22)

 44:24-25

 45:2-11

 46:6-25

 47:2-8

 48:19-25




                                                  47
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 49 of 91
Exhibit B.1: Citibank’s Deposition Designations


 49:2-7

 49:13-25

 50:2-6                      FRE 501

 50:19-25                    FRE 501

 51:2                        FRE 501

 59:22-25

 60:2-25

 61:2-19

 72:25                       FRE 602; FRE 401       72:13-24

 73:2-25                     FRE 602 (73:2-10);     72:13-24
                             FRE 401

 74:2-24                     FRE 401 (74:2-9)

 75:7-19                     FRE 401; AF (75:15-
                             19)

 75:24-25                    AF

 76:2-17                     AF




                                                   48
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 50 of 91
Exhibit B.1: Citibank’s Deposition Designations


            Deposition of George Xanthakys (HPS 30(b)(6)), dated October 20, 2020

 Citibank's                  Defendants'           Defendants'       Citibank's
 Designations                Objections to         Counter-          Objections to
                             Citibank's            Designations      Defendants'
                             Designations                            Counter-
                                                                     Designations

 8:5-11

 7:21-23

 17:2-25

 18:2-13

 19:5-10

 25:16-25                                          26:2-3

 33:6-25                                           34:2-6

 34:7-25                                           34:2-6

 35:2-5                                            35:6-16

 41:17-25                                          41:3-16

 42:2-9

 42:14-25                                          42:10-13

 43:2-24                                           43:25-44:20

 46:12-25

 47:2-25

 48:2-5

 49:16-25                                          53:7-22

 50:2-25                                           53:7-22

 51:2-25                                           53:7-22

 52:2-25                                           53:7-22




                                                  49
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 51 of 91
Exhibit B.1: Citibank’s Deposition Designations


 53:2-6                                            53:7-22

 54:2-25                                           55:2-7

 55:10-24

 57:10-14                                          57:15-20

 57:21-25

 58:2-12                                           58:13-15

 58:16-25                    FRE 602 (58:16-20)    58:13-15

 59:2-25

 60:2-14

 60:18-21

 65:16-25

 66:2-25                                           224:16-25; 225:2-7;
                                                   225:10-19

 67:2-14                                           224:16-25; 225:2-7;
                                                   225:10-19

 69:20-25

 70:2-10

 70:17-25                    FRE 602               70:11-16

 71:2-25                     FRE 602 (71:2)        70:11-16

 72:3-25                                               72:2

 73:2-6

 73:22-25

 74:2-3

 74:8-11                                           74:12-19

 74:20-25                                          74:12-19




                                                  50
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 52 of 91
Exhibit B.1: Citibank’s Deposition Designations


 75:2-7                                            75:8-12

 75:13-25                                          75:8-12

 76:2-18

 77:4-12                                           77:13-15

 77:16-25                                          77:13-15

 78:2-6                                            78:7-25

 79:8-20                                           79:21-24

 79:25                                             79:21-24

 80:2-25

 81:2-25

 82:2-25

 83:2-12

 85:2-25                                           86:5-9

 86:2-4                                            86:5-9

 86:10-25

 87:2-25

 88:2-25

 89:2-13

 89:17-25                                          89:14-16

 90:2-15

 90:20-24                                          90:16-19

 91:3-7                                            90:25-91:2

 92:4-23                                           91:22-92:3; 92:24-
                                                   93:12

 93:13-25



                                                  51
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 53 of 91
Exhibit B.1: Citibank’s Deposition Designations


 94:2-13

 94:19-25

 95:2-14

 95:22-25                                          95:15-21

 96:2-15                                           95:15-21

 96:22-25

 97:2-24                                           97:25; 98:2-8

 98:13-24

 100:13-20                                         100:3-12

 102:19-25                                         103:2

 103:3-10                                          103:11-24

 103:25                                            103:11-24

 104:2-9                                           103:11-24

 106:21-25                                         106:20

 107:2-13                                              107:14

 107:15-20                   A                         107:14

 109:18-25                                         108:25-109:9;
                                                   110:19-111:3

 110:2-5                                           108:25-109:9;
                                                   110:19-111:3

 111:17-25

 112:2-9

 114:13-25

 115:2-25

 116:5-25                                          116:2-4




                                                  52
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 54 of 91
Exhibit B.1: Citibank’s Deposition Designations


 117:2-6

 117:8-12                                          117:8; 117:13-15

 117:16-25                                         117:13-15

 118:2-25

 119:2-24

 120:3-10                                          120:20-121:3

 120:13-29                                         120:20-121:3

 121:4-25

 122:19-25

 123:2-25

 124:2-15                                          124:16-21

 124:22-25                                         124:16-21

 125:2-25

 126:2-25

 127:2-25

 128:2-4

 128:12-15

 129:6-25

 130:2-25

 131:2-8

 133:6-9                                           133:10-16

 133:17-25                                         133:10-16

 134:2-7

 134:11-25




                                                  53
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 55 of 91
Exhibit B.1: Citibank’s Deposition Designations


 135:2-25

 136:2-7                                           136:8-14

 136:15-25                                         136:8-14

 137:2-25

 138:2-25

 139:2-25                                          224:16-25; 225:2-7;
                                                   225:10-19

 140:2-25

 141:2-25

 142:2

 142:6-10

 142:13-25

 143:2-3

 143:5-25

 144:2-25                                          224:16-25; 225:2-7;
                                                   225:10-19

 145:2-5

 151:20-23

 152:2-25

 153:2-25

 154:2-25

 155:2-25

 156:2-25

 157:2-9

 159:16-25




                                                  54
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 56 of 91
Exhibit B.1: Citibank’s Deposition Designations


 160:2-3

 160:11-25

 161:2-25

 162:2-17

 162:23-25

 163:2-25                                          224:16-25; 225:2-7;
                                                   225:10-19

 164:2-25

 165:2-25                                          166:2-11

 169:24-25

 170:2-8

 170:11-18

 171:9-25

 172:2-25

 173:2-25

 174:2-25

 175:2-8

 180:5-16

 180:19-25

 181:2-9

 181:12-25

 182:2-21

 182:24-25

 183:2-25

 184:2-8



                                                  55
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 57 of 91
Exhibit B.1: Citibank’s Deposition Designations


 184:10-25

 185:2-13

 185:25                                            185:14-21

 186:2-5                                           185:14-21

 186:12-25                                         185:14-21

 187:2-25                                          185:14-21

 188:2-25                                          185:14-21; 224:16-
                                                   25; 225:2-7; 225:10-
                                                   19

 189:2-12                                          185:14-21

 189:14-25

 190:2-25                                          191:25

 191:5-25

 192:2

 192:9-25

 193:2-7                                           193:8-14

 193:15-24                                         193:8-14

 194:6-12

 194:18-25

 195:2-25

 196:2-15

 213:19-25

 214:2-25

 215:2-20

 222:2-8




                                                  56
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 58 of 91
Exhibit B.1: Citibank’s Deposition Designations


 222:14-25

 223:2-24




                                                  57
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 59 of 91
Exhibit B.1: Citibank’s Deposition Designations


           Deposition of Jeremy Phipps (Medalist 30(b)(6)), dated October 12, 2020

 Citibank's                  Defendants'           Defendants'        Citibank's
 Designations                Objections to         Counter-           Objections to
                             Citibank's            Designations       Defendants'
                             Designations                             Counter-
                                                                      Designations

 10:16-18

 10:25

 11:2-3

 11:12-14

 24:22-25

 25:9-12

 25:16-25

 26:16-22                                          26:23-25; 27:2-9

 27:9-22                                           26:23-25; 27:2-9

 32:22-25

 33:2

 33:13-20                                          33:21-25

 34:16-18                                          34:3-9; 34:11-2;
                                                   34:14

 38:15-25                                          34:3-9; 34:11-2;
                                                   34:14

 39:2-24

 40:7-21

 40:23-25

 41:2-4

 42:15-19                                          42:20-23




                                                  58
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 60 of 91
Exhibit B.1: Citibank’s Deposition Designations


 42:23-25                                          42:20-23

 43:2-10

 43:23-25

 44:2-10                                           44:11-16

 47:11-25

 48:2-3

 49:14-25                    FRE 602

 50:2-25                     FRE 602

 51:2-25                     FRE 602

 52:2-4                      FRE 602

 55:16-25

 56:2-13                                           56:14-16; 56:18

 57:21-25                    30(b)(6)              57:4-8; 57:15-20

 58:2-6                      30(b)(6)

 58:8-13

 58:18-24

 60:11-25

 61:2-14                     FRE 602

 61:16-19                    FRE 602

 61:21-25

 62:2-25

 63:3-5

 63:7-25

 64:2-25




                                                  59
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 61 of 91
Exhibit B.1: Citibank’s Deposition Designations


 65:9-12                                           65:13

 65:15-17

 66:10-25

 67:2-19

 68:2-9

 68:14-25

 69:2-12

 84:7-25                                           83:11-25; 84:2, 84:5

 85:2-3

 91:14-25

 92:2-16                                           93:7-18

 93:25

 94:2-4

 94:10-12                                          94:7-8

 95:13-16

 95:24-25                                          95:22-23

 96:2

 96:10-25

 97:2-12                                           97:13-16; 18-20

 98:6-9                                            98:10-16

 98:17-21

 100:19-21

 100:24-25

 101:2-6




                                                  60
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 62 of 91
Exhibit B.1: Citibank’s Deposition Designations


 101:8-10

 101:12

 101:14-23

 102:15-22

 103:20-24

 104:3-5                                           103:25; 104:2

 105:10-14

 112:2-25                    MT (112:23-25)        113:4-5

 113:2-3                     MT (113:2-3)          113:4-5

 113:6-10

 113:22-25

 115:5-21

 116:2

 116:5-16                                          116:3-4

 117:7-25

 118:2-25

 119:2-11

 119:13-25

 120:2-19                                          120:21

 121:2-7                                           120:23-25

 122:10-18

 123:11-20                                         125:13-16

 123:22-25

 126:3-11




                                                  61
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 63 of 91
Exhibit B.1: Citibank’s Deposition Designations


 128:2-21

 129:6-19

 131:4-11

 131:13-22

 131:24-25

 132:2

 132:4-5

 133:7-22                    LC

 134:14-18                   LC                    134:19

 134:20                      LC

 136:23-24                   AC

 137:6-15

 138:24-25

 139:2

 147:2-25

 148:2-3

 148:12-17

 148:24-25

 149:2-16                    LC

 150:2-25

 151:2-8

 151:14-25

 152:2-5

 167:19-25




                                                  62
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 64 of 91
Exhibit B.1: Citibank’s Deposition Designations


 168:2-9

 168:11-20

 168:25

 169:2-4

 169:6-25

 170:8-11

 171:3-7

 173:17-25

 174:2-13

 174:20-25

 182:16-25

 183:2-25

 184:2-25                    FRE 602

 188:21-25

 189:2-5

 190:16-25

 191:3-4

 191:6-8

 192:11-25                   FRE 401

 193:2-8                     FRE 401

 193:11                      FRE 401

 194:25                                            195:24-194:12

 195:2-15                                          195:24-194:12

 195:20                                            195:24-194:12




                                                  63
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 65 of 91
Exhibit B.1: Citibank’s Deposition Designations


 195:24-25                                         195:24-194:12

 196:2-14                                          195:24-194:12

 196:21-25                                         195:24-194:12

 197:2-16                                          195:24-194:12

 197:19-22                   30(b)(6)              195:24-194:12;
                                                   197:17-18

 205:24-25

 206:2-6

 206:11-24

 208:4-15

 208:20-25

 209:2-25

 210:2-8                                           210:9-13

 210:14-20

 210:22-25                                         210:21-22

 211:2-9

 214:21-25

 215:8-10

 215:15-20                                         215:21-24

 217:7-12                                          216:16-21

 217:18-25

 218:2-25

 219:2-5

 222:10-25

 223:2-25



                                                  64
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 66 of 91
Exhibit B.1: Citibank’s Deposition Designations


 224:2-7

 238:16-24                                         237:9-25; 238:2-15

 258:18-22




                                                  65
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 67 of 91
Exhibit B.1: Citibank’s Deposition Designations


        Deposition of Darren Beals (New Generation 30(b)(6)), dated October 9, 2020

 Citibank's                  Defendants'           Defendants'      Citibank's
 Designations                Objections to         Counter-         Objections to
                             Citibank's            Designations     Defendants'
                             Designations                           Counter-
                                                                    Designations

 7:16-18

 7:25

 8:19-22

 9:9-12

 13:22-24

 14:5

 14:15-25

 15:2-12

 15:14-25

 16:2-12

 16:14-25

 17:2-3

 17:6-25

 18:2-22

 21:3-6                      CD                    21:7

 21:7-11

 23:4-15

 23:18-24

 25:24-25

 30:3                                              29:17-25




                                                  66
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 68 of 91
Exhibit B.1: Citibank’s Deposition Designations


 32:9-12

 33:6-9

 35:3-6                      30(b)(6)              35:7-8

 35:9-10                     30(b)(6)

 36:2-3

 36:7

 36:13-16

 36:21

 37:4-8

 37:25

 38:2-4

 38:7-13

 38:15

 38:25

 39:2-17                     MT; CD                39:18

 39:19-25

 40:2

 40:8-15

 42:23-25

 43:2-5

 43:8

 43:10-13

 44:3-6

 44:16-25




                                                  67
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 69 of 91
Exhibit B.1: Citibank’s Deposition Designations


 45:2-18                     CD                    45:19-20

 45:21-25

 46:2-7

 46:15-21

 49:5-13                     AF                    49:5-13

 49:15-25

 50:2-5                      CD; AF                50:6

 50:8-9                      CD; AF                50:10-11

 50:12

 50:20-25

 52:10-25

 53:2-23

 55:3-7

 55:17-20

 56:18-22

 56:25

 57:2-7                      CD                    57:8-9

 57:11-25

 58:2-14

 58:18-25

 59:2-5

 61:16-18

 62:3-12

 62:15-19




                                                  68
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 70 of 91
Exhibit B.1: Citibank’s Deposition Designations


 62:21-25

 63:2-17                                           63:18-64:7

 64:15-22

 65:16-23                                          66:2-6

 66:7-25

 67:2-8

 67:17-22

 68:2-7                      AF; CD                68:8

 68:10-11

 74:10-23

 74:25

 75:2-10

 75:13-24

 76:2-18

 77:19-25                                          77:12-18

 78:2-14

 78:22-25

 79:2-21

 80:3-8

 80:11

 80:15-21

 80:24-25

 81:2-5

 81:7-25                     FRE 501               82:2-4




                                                  69
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 71 of 91
Exhibit B.1: Citibank’s Deposition Designations


 82:8-24                     FRE 602

 86:25

 87:2-17

 87:25

 88:2-8

 90:7-25

 93:5-21                     AF                    93:22

 93:23-24

 94:11-25

 95:4-7

 98:3-18                     30(b)(6); AF; FRE     98:19-20
                             602

 98:21                       30(b)(6); AF; FRE
                             602

 101:5-24                    30(b)(6)              101:25-102:2

 102:5-19                    30(b)(6)              102:20-21

 102:23-25                   30(b)(6)

 104:16-22




                                                  70
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 72 of 91
Exhibit B.1: Citibank’s Deposition Designations


       Deposition of Frederick Dent (New Generation 30(b)(6)), dated October 9, 2020

 Citibank's                  Defendants'            Defendants'          Citibank's
 Designations                Objections to          Counter-             Objections to
                             Citibank's             Designations         Defendants'
                             Designations                                Counter-
                                                                         Designations

 7:10-20

 8:3-21

 11:5-15                     FRE 401; FRE 403;      10:23-11:4; 11:16-
                             V; AF; LC; 30(b)(6)    12:12

 13:18-24

 14:2-5

 14:8-17

 14:20-25

 16:14-17

 16:21

 16:24-25                                           16:22-23

 17:2-12

 18:2-4

 18:9-15

 18:19-25

 19:2-5                                             19:5-6

 19:7-25

 20:2-25

 21:2-25

 22:2-5

 22:7-9                      FRE 501



                                                   71
        Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 73 of 91
Exhibit B.1: Citibank’s Deposition Designations


 24:4-25                                           23:6-24:2

 25:2-14

 26:4-11                     FRE 501; AC; AF;      26:12-13
                             CD

 26:14-25

 27:2-10

 27:13-25

 28:2-20

 29:8-25

 34:23-25

 35:9-13

 35:18-25

 36:2-4                      LC                    36:5-7

 36:8

 37:8-24

 38:2-8

 38:15-16                    AF                    38:17-19

 38:20-25

 39:2-22

 41:12-19

 41:22-25

 42:2

 42:7-13




                                                  72
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 74 of 91
Exhibit B.1: Citibank’s Deposition Designations


             Deposition of Eric Warren (Revlon 30(b)(6)), dated October 23, 2020

 Citibank's                  Defendants'           Defendants'           Citibank's
 Designations                Objections to         Counter-              Objections to
                             Citibank's            Designations          Defendants'
                             Designations                                Counter-
                                                                         Designations
 8:25
 9:2-3
 15:5-11
 44:24-25
 45:2-6
 141:2-8                                           140:24-25
 142:7-25                                          143:2-16; 174:7-21;
                                                   179:21-180:5
 143:2-16
 144:15-25
 145:2-10
 145:19-25
 146:2-25
 147:2-25
 148:2-8                     FRE 802 (148:6-8)
 148:11-17                   FRE 802
 148:20-25
 150:4-5
 150:9-22
 151:3-24                                          150:23-151:2
 154:15-25                                         50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 155:2-25                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9




                                                  73
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 75 of 91
Exhibit B.1: Citibank’s Deposition Designations


 156:2-21                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 157:2-25                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 158:2-25                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 159:2-25                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 160:2-25                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 161:2-21                                          50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-


                                                  74
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 76 of 91
Exhibit B.1: Citibank’s Deposition Designations


                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9



 162:3-15
 163:21-25
 164:2-15
 164:20-25
 165:2-7
 165:19-25
 166:2-4
 166:11-22                                         50:13-18; 50:22-23;
                                                   52:10-14; 52:17-19;
                                                   59:7-12; 59:14-19,
                                                   59:22-25; 60:2-9;
                                                   63:22-64:3; 64:5-9;
                                                   81:19-82:2; 82:6-
                                                   83:4; 180:17-19;
                                                   180:22-181:6, 181:9
 169:7-25
 170:2-23                                          143:2-16; 179:21-
                                                   180:2, 180:5
 171:8-12
 171:14-25
 173:7-14                                          40:19-41:10; 41:19-
                                                   42:8; 84:20-24




                                                  75
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 77 of 91
Exhibit B.1: Citibank’s Deposition Designations


          Deposition of Scott Caraher (Symphony 30(b)(6)), dated October 16, 2020

 Citibank's            Defendants'                Defendants'    Citibank's Objections to
 Designations          Objections to              Counter-       Defendants' Counter-
                       Citibank's                 Designations   Designations
                       Designations
 7:6-8
 7:17-21
 13:4-10
 32:19-33:5
 33:10-34:9
 34:18-35:15                                      34:10-15
 36:16-37:20           LC
 38:25-40:5            LC                         40:6-41:6      Non-Responsive Answer
 41:7-42:6             FRE 401
 42:15-18              FRE 401
 42:22-25
 43:12-44:19           FRE 401




                                                  76
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 78 of 91
Exhibit B.1: Citibank’s Deposition Designations


          Deposition of John Vaughan (Symphony (30(b)(6)), dated October 16, 2020

 Citibank's                  Defendants'           Defendants'        Citibank's
 Designations                Objections to         Counter-           Objections to
                             Citibank's            Designations       Defendants'
                             Designations                             Counter-
                                                                      Designations
 11:24-12:2
 12:13-15
 26:18-27:14
 54:12-16                    FRE 802
 54:20-55:23                 FRE 802
 61:3-9                      FRE 401               76:3-15; 78:2-16
 61:21-62:6                  FRE 401               76:3-15; 78:2-16
 62:8-10                     FRE 401               76:3-15; 78:2-16
 62:12-17                    FRE 401               76:3-15; 78:2-16
 62:20-25                    FRE 401               76:3-15; 78:2-16
 63:3-8                      FRE 401               76:3-15; 78:2-16
 63:10-17                    FRE 401               76:3-15; 78:2-16
 63:19-25                    FRE 401               76:3-15; 78:2-16
 64:3-5                      FRE 401               76:3-15; 78:2-16
 65:18-24                    FRE 401               76:3-15; 78:2-16
 66:12-13                    FRE 401               76:3-15; 78:2-16
 66:15-18                    FRE 401               76:3-15; 78:2-16
 66:20-23                    FRE 401               76:3-15; 78:2-16
 66:25-67:2                  FRE 401               76:3-15; 78:2-16
 68:16-69:5                  FRE 401               76:3-15; 78:2-16
 69:7-69:12                  FRE 401               76:3-15; 78:2-16
 69:17-70:6                  FRE 401               76:3-15; 78:2-16
 70:8-13                     FRE 401               76:3-15; 78:2-16
 70:15-21                    FRE 401               76:3-15; 78:2-16
 70:24-71:9                  FRE 401               76:3-15; 78:2-16
 80:13-22
 80:24-81:5
 81:7-11
 81:13-16
 81:18-81:18
 81:24-82:13
 82:16-83:8
 83:10-83:10
 97:20-22
 97:24-97:24
 104:5-105:12                FRE 802



                                                  77
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 79 of 91
Exhibit B.1: Citibank’s Deposition Designations


 115:18-117:12               FRE 802
 118:4-119:7
 131:19-133:8
 200:20-202:10
 224:20-225:21               FRE 802
 227:2-228:5                 FRE 401; FRE 802




                                                  78
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 80 of 91
Exhibit B.1: Citibank’s Deposition Designations


           Deposition of William Lenga (Tall Tree 30(b)(6)), dated October 14, 2020

 Citibank's                  Defendants'           Defendants'         Citibank's
 Designations                Objections to         Counter-            Objections to
                             Citibank's            Designations        Defendants'
                             Designations                              Counter-
                                                                       Designations
 11:19-20
 13:23-25
 14:2-3
 30:3-4
 30:8-12
 30:20-25
 31:13-14
 31:16-18
 31:21-24
 32:5-10
 32:25
 33:2-8
 33:19-21
 34:10-25
 35:2-23
 36:19-24
 37:2-3
 39:13-16
 39:22-25
 40:2
 40:9-24                                           40:25-41:3; 41:7-
                                                   41:14
 42:4-15
 44:4-12                     30(b)(6)
 45:17-19
 45:23-25
 46:2-16
 47:14-15
 47:18-20
 49:3-9
 50:14-25
 51:2-3
 52:12-16
 52:19-20
 53:9-25                     30(b)(6); V; 401      52:22-53:8
 54:4-7                      30(b)(6); V; 401



                                                  79
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 81 of 91
Exhibit B.1: Citibank’s Deposition Designations


 54:17-18                    30(b)(6); V; 401      54:8-16; 54:19
 54:20-25                    30(b)(6); V; 401
 55:2-18
 59:10-13
 59:22-23                    30(b)(6); 401; AF;    59:24-25
                             FRE 602
 60:4
 60:6-7                      30(b)(6); 401; AF;    60:8-9
                             FRE 602
 60:10-25                    30(b)(6); 401; AF;    61:2-4
                             FRE 602
 61:5-7                      30(b)(6); 401; AF;
                             FRE 602
 61:9-11
 61:14-17
 61:22-25
 63:10-12                                          62:23-63:9
 64:12-19
 67:12-25                    LC
 68:2                        LC
 68:5-11                     LC
 68:13-23                    LC
 68:25                       LC
 69:2-6
 70:11-14                    30(b)(6); V; LC       70:15-18
 70:19-24                    30(b)(6); V; LC
 71:3-5
 71:7-10                     30(b)(6); V; LC       71:11-13
 71:14-17                    30(b)(6); V; LC
 71:19-21                    30(b)(6)
 71:25                       30(b)(6); V; LC       72:5
 72:2-4                      30(b)(6); V; LC       72:5
 72:6                        30(b)(6); V; LC       72:5; 73:3-17
 72:13-15
 74:2
 74:4-6
 74:8-14
 74:24-25                    30(b)(6); V; 401
 75:2-18
 80:7-13                     V; LC                 80:15-81:3
 81:5-14                     30(b)(6); 401; CD
 82:5-11                     30(b)(6); 401; AF;    82:12-13
                             FRE 602



                                                  80
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 82 of 91
Exhibit B.1: Citibank’s Deposition Designations


 82:14-16                    30(b)(6); 401; AF;
                             FRE 602; LC
 82:18-22
 83:19-24                    30(b)(6); 401; AF;
                             FRE 602
 84:3-25                     30(b)(6); 401; AF;
                             FRE 602; LC
 85:2-9                      30(b)(6); 401; AF;
                             FRE 602; LC
 86:9-13                     30(b)(6); 401; FRE    88:2-89:8; 90:20-91:3
                             602
 92:3-18                     30(b)(6); 401; AF;
                             FRE 602; LC
 94:4-5
 94:15-23                    30(b)(6)
 95:15-16
 95:23
 96:9-20                     30(b)(6)
 97:3-17                     30(b)(6); CD          96:21-97:2
 97:20-25
 98:2-11
 98:14-17
 98:19
 98:21-25
 99:2
 108:5-8                     AF; V                 99:7-19; 102:15-
                                                   104:2; 104:15-105:5;
                                                   105:9-15
 108:10-12                                         108:14-21
 108:25
 109:2-4
 109:6-7
 109:9-12
 109:14
 109:16-19
 109:22-25
 110:2-8
 110:24-25                   AF; V; CD
 111:2-4                     AF; V; CD
 111:6-8
 111:10-13
 111:19-23
 112:4-17                                          132:4-136:3; 136:5-
                                                   137:10


                                                  81
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 83 of 91
Exhibit B.1: Citibank’s Deposition Designations


 112:25                      30(b)(6); 401; AF;
                             FRE 602
 113:2-4                     30(b)(6); 401; AF;    113:5-8
                             FRE 602
 113:9-11                    30(b)(6); 401; AF;
                             FRE 602
 113:13-15                   30(b)(6); 401; AF;    113:16
                             FRE 602
 113:17-19                   30(b)(6); 401; AF;
                             FRE 602
 113:21-23                   30(b)(6); 401; AF;
                             FRE 602
 114:2-3                     30(b)(6); 401; AF;
                             FRE 602
 114:5-11                    30(b)(6); 401; AF;    114:12-13
                             FRE 602; CD
 114:15-16                   30(b)(6); 401; AF;
                             FRE 602
 114:18-21                   30(b)(6); 401; AF;
                             FRE 602
 117:5-7
 117:16-22
 118:10-13
 118:25
 119:2-6
 119:18-21
 119:25
 120:3
 120:9-11
 120:15-25
 121:2
 121:10-15                   MT                    121:16
 121:17-18                   MT
 121:20-24
 122:2
 122:23-24
 123:5-9                                           123:10-13
 124:9-14
 124:16-25
 125:2-7                                           125:11-126:5;
                                                   126:11-18
 126:20-23                   FRE 602; LC           126:24
 126:25                      FRE 602; LC
 127:2-6                     FRE 602; LC


                                                  82
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 84 of 91
Exhibit B.1: Citibank’s Deposition Designations


 127:12-16                   FRE 602; LC
 128:8-11                    MT                    128:12
 128:13-14                   MT
 128:16-17                   CD; V                 128:18
 128:19-22
 128:24-25
 129:6
 129:10-11
 131:7-9
 131:12
 131:14-16
 131:19
 131:21-23
 132:2
 138:2-6
 138:9
 138:11-14
 138:17
 138:19-21
 138:24-25
 139:2-3
 139:5-7
 139:10-24
 140:2-18                                          140:19-20; 167:9-
                                                   168:9; 171:7-173:5;
                                                   174:10-25; 175:2-7;
                                                   176:9-23; 177:3-
                                                   178:7
 146:3-5
 146:11-13
 146:15
 147:4-13
 147:22-25
 148:2-3
 148:11-25
 149:2-3
 149:9-18
 149:21-22
 149:24-25
 150:2-9
 150:11-14
 150:16-22
 150:24


                                                  83
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 85 of 91
Exhibit B.1: Citibank’s Deposition Designations


 151:2-10                    AF; V; FRE 602        151:11
 151:12-16                   FRE 602
 151:18-21
 151:24-25
 152:3-6
 152:8
 152:19-25                   AF; CD; FRE 602       153:2
 153:3-5                     FRE 602
 153:7-18
 153:20-22
 153:24-25                   FRE 602
 154:2-3                     FRE 602               154:4-8; 154:15-25;
                                                   155:3-6; 155:8-23
 156:24-25
 157:2-25
 158:2-25
 159:2-15
 159:17
 159:19-25                   LC
 160:2-3                     LC                    160:4-5
 160:7-11                    CD                    160:12
 160:13-16
 160:18-25
 161:2-5
 161:7-10
 161:12-17
 161:20
 161:22-25                   LC
 162:2                       LC                    162:3-4
 162:5-10                    LC
 162:15-25
 163:2-4
 197:19-25
 198:2-5
 198:22-25
 199:7-12                    FRE 802; 30(b)(6);    199:13-14
                             FRE 602
 199:16-24                   FRE 802
 200:3-10                    FRE 802
 200:13-14                   FRE 802
 200:16-18                   FRE 802               200:19-20
 200:21
 200:23-25


                                                  84
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 86 of 91
Exhibit B.1: Citibank’s Deposition Designations


 201:4
 201:12-13                   FRE 602; 30(b)(6);    201:14-15
                             FRE 401
 201:16-17                   FRE 602; FRE 401
 201:19-20                   FRE 602; FRE 401
 201:23                      FRE 602; FRE 401
 201:25                      A; FRE 401            202:4
 202:2-3                     FRE 401
 202:5                       FRE 401
 202:7-9                     FRE 401               202:10
 202:11                      FRE 401
 202:13-16                   FRE 401
 202:23-25                   FRE 401; FRE 802;
                             FRE 602; V
 203:2                       FRE 401; FRE 802;     203:3
                             FRE 602; V
 203:4                       FRE 401
 203:6-8                     MT; A; FRE 401;       203:9
                             FRE 403
 203:10
 203:12-14                   A; FRE 401; FRE       203:15
                             403
 203:16-17
 204:3-13                    FRE 802; FRE 602      204:14-15
 204:16-17                   FRE 602; FRE 802
 204:19-20                   FRE 602; FRE 802      204: 21-22
 204:23-24                   FRE 602
 205:3-13                    CD                    205:14
 205:15
 205:23-25
 206:3
 206:5-8
 206:10-13
 206:15-18
 206:20-21                                         207:19-24; 208:7-20
 226:11-15
 226:18-19
 226:21-24                   CD                    226:25
 227:2-3
 227:5-8
 227:11-12
 227:14-18
 227:20-21



                                                  85
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 87 of 91
Exhibit B.1: Citibank’s Deposition Designations


 227:23-25
 228:2-6
 228:10-12
 228:16-18
 228:20-25
 229:2-7
 229:11-25
 230:2-16                    V; AF; LC; FRE 602;    230:17-18
                             306(b)(6)
 230:19-25
 231:2-4
 231:6-10
 231:13-25
 232:2-7                     V; AF; LC; FRE 602;    232:8-9
                             306(b)(6)
 232:10-17
 232:20-25
 233:2-10                    MT                     233:11
 233:13-14
 233:16-19
 233:21-25
 234:4




                                                   86
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 88 of 91
Exhibit B.1: Citibank’s Deposition Designations


           Deposition of Elizabeth DiPoalo (ZAIS 30(b)(6)), dated October 20, 2020

 Citibank's                  Defendants'           Defendants'       Citibank's
 Designations                Objections to         Counter-          Objections to
                             Citibank's            Designations      Defendants'
                             Designations                            Counter-
                                                                     Designations
 10:22-25
 11:2-5
 11:12-25
 12:2-4
 17:4-7                      30(b)(6)
 17:10-13                    30(b)(6)
 17:25                       30(b)(6)
 40:12-17                    30(b)(6); FRE 401
 40:22-25                    30(b)(6); FRE 401
 41:2-8                      30(b)(6); FRE 401
 41:11                       30(b)(6); FRE 401
 62:19-21                    30(b)(6); FRE 401     62:5-63:22
 62:24-25                    30(b)(6); FRE 401     62:5-63:22
 63:2-3                      30(b)(6); FRE 401     62:5-63:22
 63:5                        30(b)(6); FRE 401     62:5-63:22
 72:23-25                    30(b)(6)              72:7-74:18
 73:2                        30(b)(6)              72:7-74:18
 73:5-6                      30(b)(6)              72:7-74:18
 74:7-12                     30(b)(6)              72:7-74:18
 74:14-18                    30(b)(6)              72:7-74:18
 81:3-5                      FRE 602               81:3-82:17
 81:10-20                    FRE 602               81:3-82:17
 82:11-17                                          81:3-82:17
 85:25
 86:2-15
 87:3-10
 92:14-18
 92:20-25
 103:11-15                                         102:20-105:13
 103:17-20                                         102:20-105:13
 104:12-15                                         102:20-105:13
 104:18-22                                         102:20-105:13
 104:25                                            102:20-105:13
 105:2-5                                           102:20-105:13
 107:13-16                   30(b)(6)
 107:19-22                   30(b)(6)



                                                  87
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 89 of 91
Exhibit B.1: Citibank’s Deposition Designations


 113:21-25                   FRE 802
 114:2                       FRE 802
 114:4-6                     FRE 802
 122:10-16                   FRE 802
 124:3-23                    FRE 802
 125:19-25                   FRE 802
 126:3-8                     FRE 802




                                                  88
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 90 of 91
Exhibit B.1: Citibank’s Deposition Designations


            Deposition of Melross Meneses (ZAIS 30(b)(6)), dated October 20, 2020

 Citibank's                  Defendants'           Defendants'           Citibank's
 Designations                Objections to         Counter-              Objections to
                             Citibank's            Designations          Defendants'
                             Designations                                Counter-
                                                                         Designations
 8:12-22
 9:6-19                                            10:5-12
 9:22-23
 23:13-16                                          22:13-23-12
 23:20
 24:9-24
 26:24-25
 27:2-11                                           27:12-20
 27:21-25                                          61:16-62:25; 63:11-
                                                   20
 28:2
 28:8
 28:18-23                    V
 29:5                        V
 29:9-10                     V
 45:21-25                    FRE 602; ID; FRE      46:15-47-2
                             802
 47:9-14                     FRE 602; ID; FRE      47:21-48:3; 48:15-
                             802                   49-12; 51:5-22;
                                                   52:14-53:17; 53:25-
                                                   54:25; 59:11-24;
                                                   60:10-61:5; 75:24-
                                                   76:17; 77:11-78:10;
                                                   79:10-80:6
 47:19-20                    FRE 602; ID; FRE      47:21-48:3; 48:15-
                             802                   49-12; 51:5-22;
                                                   52:14-53:17; 53:25-
                                                   54:25; 59:11-24;
                                                   60:10-61:5; 75:24-
                                                   76:17; 77:11-78:10;
                                                   79:10-80:6
 48:4-9                      FRE 602; ID; FRE      47:21-48:3; 48:15-
                             802                   49-12; 51:5-22;
                                                   52:14-53:17; 53:25-
                                                   54:25; 59:11-24;
                                                   60:10-61:5; 75:24-
                                                   76:17; 77:11-78:10;
                                                   79:10-80:6


                                                  89
       Case 1:20-cv-06539-JMF Document 144-2 Filed 11/14/20 Page 91 of 91
Exhibit B.1: Citibank’s Deposition Designations


 48:13-14                    FRE 602; ID; FRE      47:21-48:3; 48:15-
                             802                   49-12; 51:5-22;
                                                   52:14-53:17; 53:25-
                                                   54:25; 59:11-24;
                                                   60:10-61:5; 75:24-
                                                   76:17; 77:11-78:10;
                                                   79:10-80:6
 70:23-25                                          64:18-67:5; 68:2-20;
                                                   71:25-72:24
 71:2-11                                           64:18-67:5; 68:2-20;
                                                   71:25-72:24
 71:14-18                                          64:18-67:5; 68:2-20;
                                                   71:25-72:24




                                                  90
